
38 Ill. App.2d 191 (1962)
186 N.E.2d 542
Meda Stickler, Plaintiff-Appellant,
v.
Tommy Stickler, Defendant-Appellee.
Gen. No. 11,656.
Illinois Appellate Court  Second District, First Division.
December 4, 1962.
Reno, Zahm, Folgate &amp; Skolrood, of Rockford (Roger Reno, of counsel), for appellant.
Maynard &amp; Maynard, of Rockford (James F. Maynard, of counsel), for appellee.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE DOVE.
Order reversed.
Not to be published in full.
